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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 5:02cr00255-019
                                             )
        Plaintiff,                           )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
AUNDRA GLOVER,                               )
                                             )
        Defendant.                           )



        This matter was heard on May 22,2012, upon the request of the United States Pretrial and

Probation Office for a finding that defendant had violated the conditions of his supervised

release. The defendant was present and represented by Joseph Rose. The initial violation report

was referred to Magistrate Judge George J. Limbert who issued a Report and Recommendation

on May 3, 2012 [Doc. 1071]. No objections to the Report and Recommendation having been

filed the Court adopted the Report and Recommendation. The Court found that the following

terms of supervision had been violated:

               1) new law violation on or near May 3, 2007 (trafficking in and possession

               of drugs.)

        The Court found the instant violation to be a Grade A and defendant’s Criminal History

Category to be I. After considering the factors in Sec.3553 the Court imposed a term of

imprisonment of 6 months with credit for time served in federal custody on the instant violation.

Upon defendant’s release from incarceration the period of supervised release shall terminate.
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      The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: May 22, 2012                              s/ James S. Gwin
                                                 JAMES S. GWIN
                                                 UNITED STATES DISTRICT JUDGE
